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                             U N ITE D STA TES DISTR ICT C O U R T
                             SO U TH ER N DISTR ICT O F FL O R ID A
                               CA SE N O :20.24721-CIV -UN GA RO

 FTC,

        Plaintiff,


 DIGITAL INCOM E SYSTEM S,

        Defendant.




   STA N DIN G O R DE R ON Z O O M AN D O TH E R V IDE O -C O N FER EN CE H EAR IN G S

        THIS CA U SE is before the Coul't sua sponte. The Court has considered the pertinent

 portionsoftherecord and isotherwisefully advised in thepremises.

        ln lightof the COV 1D-19 pandem ic,the Cou14 m ay,from tim e to tim e,conducthearings

 via Zoom and othersim ilarteclmologies. TheCourthereby instructsthe partiesand theircounsel

 on itsstandingrequirem entsforsuch hearings. ltis

        ORD ERED AN D A DJU D OED as foliow s:

              B efore a Zoom hearing, a11 counsel m ust have taken steps to ensure com petent

               utilization ofZoom ,including by com pleting the follow ing Zoom tutorials.
                                                                                         '

                        Joining a m eeting'
                                          . https://support.zoom .us/hc/en-us/aMicles/zol36zlg3-

                        How-Do-l-loin-A-M eeting-

                     b. Testing computerordeviceaudio and video:https'
                                                                     .//suppoM.zoom .us/hc/en-

                        us/aMicles/zol36zz83-H ow -D o-l-loin-or-Test-M y-c om puter-Audio- and

                        https://support.zoom .us/hc/en-us/articles/zo1362313-H ow -D o-I-Test-M y-

                        V ideo-
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                   Sharing your screen           a meeting'
                                                          . https'
                                                                 .//support.zooln.us/hc/en-

                   us/articles/zo1362153-How-Do-I-Slnare-M v-Screen-

               d. Sharing m ultiple screens sim ultaneously: httpsr//suppo/.zoom .us/hc/en-

                   us/articles/llsooo4z4z86-shal'ing-M tlltiple-screens-sim ultaneously

            If the Zoom hearing is an evidentiary hearing, counsel shall ensure that any

            testifying partiesand witnesses also w atch the Zoom tutorialsabove.

            In a11 Zoom and sim ilar video-conferenced hearings, all counsel, parties, and

            witnesses must wear headsets with m icrophones to ensure the highest possible

            sound quality.

         4. The Court,and a11w itnesses being questioned about docum ents,m usthave access

            to a1ldocumentsthatwillbe used atany hearing conducted with video-conference

            technology.To this end,the partiesshall:

                   Electl-onically file on the Court's docket, or conventionally file w ith the

                   Courta flash drive containing,a1lrelevantdocum ents in advance of the

                   hearing;and

               b. M eet-and-confer regarding a11 relevant docum ents in advance of the

                   hearing,and either'
                                     .

                        i.Ensure that each w itness has copies of the relevant docum ents in

                          advance ofthe hearing,or

                         ii.      lf a Zoom hearing, use the Zoom share function during the

                          hearing to share copies ofthe doculnents.

            It is im perative that a1l Zoom and sim ilar hearings run as sm oothly as possible.

            Failure to com ply with this Order m ay result in the entry of sanctions, including
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             the exclusion of evidence in the event an exhibit is not readily available to a

             testifyingwitness.

         DONEAND ORDEREDinChambersatMiami,Flolida,this / dayofNovember,
                                                           '




 2020.




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                                                UN ITED STATES D ISTRIC JU DG E
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               .counselofrecord
